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Android 2.2 Platform Highlights | Android Developers Page 3 of 4

Multiple keyboard languages multi-lingual users can add multiple languages to the keyboard and switch between
ma multiple Latin-based input languages by swiping across the space bar. This
Sash oak changes the keys as well as the auto-suggest dictionary.

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C+ ne 2b Ge ae Ped eT YT aa

 

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Improved performance

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Performance of the browser has been enhanced using the V8 engine, which enables
faster loading of JavaScript-heavy pages.
[cmoes id

| Linpack r
The graph to the right shows the performance speedup from Android 2.1 to Android 2.2
using various benchmark tests. For example, LinPack is now more than 5 times faster.

Kernel Memory Management Boost: Improved memory reclaim by up to 20x, which 1 2 3 4 5 6 7
results in faster app switching and smoother performance on memory-constrained devices. Factor of Speed Increase When Using JIT

 

Dalvik Performance Boost: 2x-5x performance speedup for CPU-heavy code over
Android 2.1 with Dalvik JIT.

Performance Tests

New Platform Technologies

Media framework

¢ New media framework (Stagefright) that supports local file playback and HTTP progressive streaming
¢ Continued support for OpenCore in Android 2.2

Bluetooth

¢ Voice dialing over Bluetooth
¢ Ability to share contacts with other phones
e Support for Bluetooth enabled car and desk docks

¢ Improved compatibility matrix with car kits and headsets

2.6.32 kernel upgrade
e HIGHMEM support for RAM >256MB

e SDIO scheduling and BT improvements

http://developer.android.com/sdk/android-2.2-highlights.html 9/25/2011
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